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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on January 21, 2025




                                                                                                  Corali Lopez−Castro
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 24−19554−CLC
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Niurka Barbara Fernandez Figueredo
6425 W 24TH AVE APT 62
Hialeah, FL 33016

SSN: xxx−xx−9653




                                                              FINAL DECREE



The trustee, Joel L Tabas, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
